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 8                                  UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
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11    CLIFFORD BRIGHAM,                           )   NO. CV 09-5537 VBF (FMO)
                                                  )
12                         Petitioner,            )
                                                  )   ORDER ADOPTING FINDINGS,
13                  v.                            )   CONCLUSIONS AND RECOMMENDATIONS
                                                  )   OF UNITED STATES MAGISTRATE JUDGE
14    LINDA SANDERS, Warden,                      )
                                                  )
15                         Respondent.            )
                                                  )
16

17            Pursuant to 28 U.S.C. § 636, the Court has conducted a de novo review of the Petition, all
18    of the records herein, and the Report and Recommendation of the United States Magistrate
19    Judge. No objections to the Report and Recommendation have been filed. The Court approves
20    and adopts the Magistrate Judge’s Report and Recommendation. Accordingly, IT IS ORDERED
21    THAT:
22            1.    Judgment shall be entered dismissing the action without prejudice.
23            2.    The Clerk shall serve copies of this Order and the Judgment herein on the parties.
24

25    DATED: December 22, 2009.
26                                                            _________________________________
                                                                    VALERIE BAKER FAIRBANK
27                                                              UNITED STATES DISTRICT JUDGE
28
